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      CA02db Intake

      From:                 NYSD_ECF_Pool@nysd.uscourts.gov
      Sent:                 Thursday, September 28, 2023 3:24 PM
      To:                   NYSD CourtMail
      Subject:              Activity in Case 1:19-cr-00870-JMF USA v. Raji Appeal Record Sent to USCA - Electronic File


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                                                          U.S. District Court

                                                    Southern District of New York

      Notice of Electronic Filing

      The following transaction was entered on 9/28/2023 at 3:24 PM EDT and filed on 9/28/2023
      Case Name:          USA v. Raji
      Case Number:        1:19‐cr‐00870‐JMF
      Filer:
      Document Number: No document attached

      Docket Text:
      Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal Electronic
      Files as to Mustapha Raji re: [151] Notice of Appeal were transmitted to the U.S. Court of
      Appeals. (nd)


      1:19‐cr‐00870‐JMF‐1 Notice has been electronically mailed to:

      Jeremy Schneider     jschneider@rssslaw.com, mulerio@rssslaw.com, office@rssslaw.com

      Anne Berkowitz Sekel     asekel@foley.com, anne‐sekel‐8745@ecf.pacerpro.com, docketflow@foley.com

      Eun Young Choi      eun.young.choi@usdoj.gov, USANYS.ECF@USDOJ.GOV

      Jilan Janet Kamal    jilan.kamal@usdoj.gov, CaseView.ECF@usdoj.gov, USANYS.ECF@USDOJ.GOV

      Catherine Elaine Ghosh     catherine.ghosh@usdoj.gov, CaseView.ECF@usdoj.gov, USANYS.ECF@USDOJ.GOV

      Robert Benjamin Sobelman       robert.sobelman@usdoj.gov, CaseView.ECF@usdoj.gov, USANYS.ECF@USDOJ.GOV

      Dina McLeod      dina.mcleod@usdoj.gov, CaseView.ECF@usdoj.gov, usanys.ecf@usdoj.gov


                                                                   1
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      1:19‐cr‐00870‐JMF‐1 Notice has been delivered by other means to:




                                                              2
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                                                                                         CLOSED,APPEAL,ECF
                                            U.S. District Court
                               Southern District of New York (Foley Square)
                     CRIMINAL DOCKET FOR CASE #: 1:19−cr−00870−JMF All Defendants

              Case title: USA v. Raji                                  Date Filed: 12/04/2019

                                                                       Date Terminated: 09/20/2023

              Assigned to: Judge Jesse M.
              Furman

              Defendant (1)
              Mustapha Raji                      represented by Jeremy Schneider
              TERMINATED: 09/20/2023                            Rothman, Schneider, Soloway & Stern, LLP
              also known as                                     100 Lafayette Street, Suite 501
              Sealed Defendant 1                                New York, NY 10013
              TERMINATED: 09/20/2023                            212−571−5500
                                                                Fax: 212−571−5507
                                                                Email: jschneider@rssslaw.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: CJA Appointment

              Pending Counts                                   Disposition
              18:1349.F ATTEMPT AND
              CONSPIRACY TO COMMIT                             Imprisonment: 36 months on each count to be
              WIRE FRAUD                                       served concurrently; Supervised Release: 3 years
              (1)
              18:1343.F FRAUD BY WIRE,                         Imprisonment: 36 months on each count to be
              RADIO, OR TELEVISION                             served concurrently; Supervised Release: 3 years
              (2)
              18:2315.F SALE OR RECEIPT
              OF STOLEN GOODS,                                 Imprisonment: 36 months on each count to be
              SECURITIES, MONEYS, ETC.                         served concurrently; Supervised Release: 3 years
              (3)
              18:1956−4999.F MONEY
              LAUNDERING − FRAUD,                              Imprisonment: 36 months on each count to be
              OTHER (CONSPIRACY)                               served concurrently; Supervised Release: 3 years
              (4)

              Highest Offense Level (Opening)
              Felony

              Terminated Counts                                Disposition
              None

              Highest Offense Level
              (Terminated)
              None

              Complaints                                       Disposition
              None
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              Interested Party
              Stroz Friedberg Inc.                      represented by Anne Berkowitz Sekel
              TERMINATED: 09/20/2023                                   Foley & Lardner, LLP
                                                                       90 Park Avenue
                                                                       New York, NY 10016
                                                                       (212)−682−7474
                                                                       Fax: (212)−682−2329
                                                                       Email: asekel@foley.com
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: Retained


              Plaintiff
              USA                                      represented by Eun Young Choi
                                                                      United States Attorney's Office, SDNY
                                                                      One Saint Andrew's Plaza
                                                                      New York, NY 10007
                                                                      (212) 637−2187
                                                                      Fax: (212) 637−3290
                                                                      Email: eun.young.choi@usdoj.gov
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Robert Benjamin Sobelman
                                                                      U.S. Attorney's Office, SDNY (St Andw's)
                                                                      One St. Andrew's Plaza
                                                                      New York, NY 10007
                                                                      (212)−637−2616
                                                                      Email: robert.sobelman@usdoj.gov
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Catherine Elaine Ghosh
                                                                      US Attorney's Office− Southern District of
                                                                      New York
                                                                      1 St. Andrew's Plaza
                                                                      New York, NY 10007
                                                                      212−637−1114
                                                                      Email: catherine.ghosh@usdoj.gov
                                                                      ATTORNEY TO BE NOTICED

                                                                      Dina McLeod
                                                                      United States Attorney's Office, SDNY
                                                                      One Saint Andrew's Plaza
                                                                      New York, NY 10007
                                                                      (212)−637−1040
                                                                      Email: dina.mcleod@usdoj.gov
                                                                      ATTORNEY TO BE NOTICED

                                                                      Jilan Janet Kamal
                                                                      U.S. Attorney's Office− SDNY
                                                                      1 Saint Andrew's Plaza
                                                                      New York, NY 10007
                                                                      212−637−2192
                                                                      Fax: 212−637−2527
                                                                      Email: jilan.kamal@usdoj.gov
                                                                      ATTORNEY TO BE NOTICED

               Date Filed    #   Docket Text
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               12/04/2019    2 SEALED INDICTMENT as to Sealed Defendant 1 (1) count(s) 1, 2, 3, 4. (jm)
                               (Entered: 12/26/2019)
               12/05/2019    1 SEALED DOCUMENT placed in vault. (rz) (Entered: 12/05/2019)
               12/20/2019    3 Order to Unseal Indictment as to Sealed Defendant 1. (Signed by Magistrate Judge
                               Kevin Nathaniel Fox on 12/20/19)(jm) (Entered: 12/26/2019)
               12/20/2019       INDICTMENT UNSEALED as to Mustapha Raji. (jm) (Entered: 12/26/2019)
               12/20/2019       Case Designated ECF as to Mustapha Raji. (jm) (Entered: 12/26/2019)
               12/20/2019       Case as to Mustapha Raji ASSIGNED to Judge Jesse M. Furman. (jm) (Entered:
                                12/26/2019)
               12/20/2019       Arrest of Mustapha Raji in the United States District Court − Southern District of
                                Florida. (jm) (Entered: 01/14/2020)
               01/14/2020    5 Rule 5(c)(3) Documents Received as to Mustapha Raji from the United States District
                               Court − Southern District of Florida. (jm) (Entered: 01/14/2020)
               01/22/2020    6 LETTER MOTION addressed to Judge Jesse M. Furman from Dina McLeod dated
                               January 22, 2020 re: Request for the Exclusion of Time . Document filed by USA as to
                               Mustapha Raji. (McLeod, Dina) (Entered: 01/22/2020)
               01/23/2020    7 ORDER denying 6 LETTER MOTION seeking an exclusion of time under the Speedy
                               Trial Act as to Mustapha Raji (1). The Court is troubled by the fact that it will take the
                               U.S. Marshal Service approximately one month to transport the Defendant to this
                               District from Florida. The Government is directed to contact the Marshals to determine
                               the reasons for that delay and to then advise the Court. The Government's motion is
                               denied without prejudice to renewal after it provides that explanation. SO ORDERED.
                               (Signed by Judge Jesse M. Furman on 1/23/2020) (Text Only Order) (Furman, Jesse)
                               (Entered: 01/23/2020)
               01/27/2020    8 LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman from Dina
                               McLeod dated January 27, 2020 re: Response to Court's Question re: Transport
                               Document filed by USA. (McLeod, Dina) (Entered: 01/27/2020)
               02/05/2020    9 Minute Entry for proceedings held before Magistrate Judge Sarah Netburn: Initial
                               Appearance on disposition sheet as to Mustapha Raji held on 2/5/2020. Deft present
                               with atty David Stern, standing in for Jeremy Schneider. AUSA Dina McLeod present.
                               Detention on consent without prejudice. (jw) Modified on 2/7/2020 (ab). (Entered:
                               02/06/2020)
               02/05/2020   10 Medical Attention Form as to Mustapha Raji. (jw) (Entered: 02/06/2020)
               02/05/2020   11 CJA 23 Financial Affidavit by Mustapha Raji. (Signed by Magistrate Judge Sarah
                               Netburn) Attorney David Stern present (jw) (Entered: 02/06/2020)
               02/05/2020       Attorney update in case as to Mustapha Raji. Attorney David M Stern for Mustapha
                                Raji added. (jw) (Entered: 02/06/2020)
               02/07/2020       Minute Entry for proceedings held before Judge Jesse M. Furman: Arraignment as to
                                Mustapha Raji (1) Counts 1−4 held on 2/7/2020. Defendant present (in custody) with
                                attorney Jeremy Schneider. AUSA Dina McLeod present. Court reporter present. −−
                                Defendant pleads NOT GUILTY to Counts 1−4 of the Indictment. Discovery due by
                                2/21/2020. Motions due by 5/8/2020. Opposition due by 5/22/2020. Replies due by
                                5/29/2020. The next Pretrial Conference is scheduled for 5/11/2020 at 3:30 PM. Time
                                is excluded in the interests of justice from 2/7/2020 until 5/11/2020. (ab) (Entered:
                                02/11/2020)
               02/07/2020       Minute Entry for proceedings held before Judge Jesse M. Furman: Plea entered by
                                Mustapha Raji (1) Counts 1,2,3,4 Not Guilty. (ab) (Entered: 02/11/2020)
               02/10/2020   12 PROTECTIVE ORDER as to Mustapha Raji...regarding procedures to be followed
                               that shall govern the handling of confidential material.... (Signed by Judge Jesse M.
                               Furman on 2/10/2020) (ab) (Entered: 02/10/2020)
               02/10/2020   13 SEALED DOCUMENT held in Chambers. (ab) (Entered: 02/10/2020)
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               02/12/2020   14 NOTICE OF ATTORNEY APPEARANCE: Jeremy Schneider appearing for
                               Mustapha Raji. Appearance Type: CJA Appointment. (Schneider, Jeremy) (Entered:
                               02/12/2020)
               03/04/2020   15 TRANSCRIPT of Proceedings as to Mustapha Raji re: Arraignment held on 2/7/2020
                               before Judge Jesse M. Furman. Court Reporter/Transcriber: Martha Martin, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               3/25/2020. Redacted Transcript Deadline set for 4/6/2020. Release of Transcript
                               Restriction set for 6/2/2020. (McGuirk, Kelly) (Entered: 03/04/2020)
               03/04/2020   16 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Arraignment proceeding held on 2/7/2020
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 03/04/2020)
               04/14/2020   17 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               April 14, 2020 re: Respectfully requesting extension of motion deadlines and an
                               adjournment of status conference . Document filed by Mustapha Raji. (Schneider,
                               Jeremy) (Entered: 04/14/2020)
               04/17/2020   18 MEMO ENDORSEMENT as to Mustapha Raji (1) on 17 LETTER MOTION
                               extension of motion deadlines and an adjournment of status conference : Application
                               GRANTED. The schedule suggested by the parties is hereby ADOPTED. The pretrial
                               conference is ADJOURNED to June 29, 2020, at 3:30 p.m. Time is excluded in the
                               interests of justice to allow the defendant and counsel adequate time to review the
                               voluminous discovery and prepare pretrial motions. The Clerk of Court is directed to
                               terminate ECF No. 17. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               4/17/2020) (ab) (Entered: 04/17/2020)
               05/14/2020   19 NOTICE OF ATTORNEY APPEARANCE Eun Young Choi appearing for USA.
                               (Choi, Eun Young) (Entered: 05/14/2020)
               05/18/2020   20 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               May 18, 2020 re: Request for Release from Custody Due to Covid−19 . Document
                               filed by Mustapha Raji. (Schneider, Jeremy) (Entered: 05/18/2020)
               05/18/2020   21 ORDER with respect to 20 LETTER MOTION seeking bail as to Mustapha Raji (1).
                               Given the time sensitivities, the Government shall file any opposition by Wednesday,
                               May 20, 2020, at 5 p.m; any reply shall be filed by Thursday, May 21, 2020, at noon.
                               The Court will advise the parties if it decides to hold a conference by telephone or
                               video. SO ORDERED. (Signed by Judge Jesse M. Furman on 5/18/2020) (Text Only
                               Order) (Furman, Jesse) (Entered: 05/18/2020)
               05/22/2020   22 ORDER with respect to 20 LETTER MOTION seeking bail as to Mustapha Raji (1).
                               The Court will hold a hearing with counsel by telephone on May 26, 2020, at 3:00
                               p.m. See ECF No. 20 , at 1 (consenting to a telephonic hearing and waiving the
                               Defendant's appearance). At that time, counsel shall call the Court's dedicated
                               conference call line at (888) 363−4749, using access code 542−1540 followed by the
                               pound (#) key. Members of the public and press may attend using the same dial−in
                               information; they will be placed in listen−only mode. The parties are reminded to
                               follow the procedures for teleconferences described in the Court's Emergency
                               Individual Rules and Practices in Light of COVID−19, which are available at
                               https://nysd.uscourts.gov/hon−jesse−m−furman. Among other things, those procedures
                               require counsel to provide advance notice of who will participate in the conference and
                               the telephone numbers they will use to participate. SO ORDERED. (Signed by Judge
                               Jesse M. Furman on 5/22/2020) (Text Only Order) (Furman, Jesse) (Entered:
                               05/22/2020)
               05/22/2020   23 ORDER as to Mustapha Raji: The time of the bail hearing on May 26, 2020, is hereby
                               CHANGED to 2 p.m. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               5/22/2020) (Text Only Order)(Furman, Jesse) (Entered: 05/22/2020)
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               05/25/2020   24 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                               MEMORANDUM in Opposition by USA as to Mustapha Raji re 20 LETTER
                               MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated May 18,
                               2020 re: Request for Release from Custody Due to Covid−19 .. (Attachments: # 1
                               Exhibit A, # 2 Exhibit B)(Choi, Eun Young) Modified on 5/25/2020 (ka). (Entered:
                               05/25/2020)
               05/25/2020       NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                                ERROR as to Mustapha Raji: Notice to Attorney Choi, Eun Young to RE−FILE
                                Document 24 Memorandum in Opposition to Motion. Use the event type Letter
                                found under the event list Other documents. (ka) (Entered: 05/25/2020)
               05/26/2020       Minute Entry for proceedings held before Judge Jesse M. Furman: Bail Hearing as to
                                Mustapha Raji held via telephone on 5/26/2020. Defense counsel Jeremy Schneider
                                present. AUSA Eun Young Choi and Dina McLeod present. Pretrial Officer Francesca
                                Piperato present. Court reporter present. −− Defendant's presence is waived. Bail
                                argument held. Decisions is reserved. (ab) (Entered: 06/10/2020)
               05/27/2020   25 ORDER as to Mustapha Raji (1) granting 20 LETTER MOTION equest for Release
                               from Custody Due to Covid−19: Upon review of the parties submissions and
                               consideration of the arguments made by counsel during the telephonic bail hearing
                               held yesterday, the Court GRANTS Defendants application for bail. See ECF No. 20.
                               (Signed by Judge Jesse M. Furman on 5/27/2020) (ab) (Entered: 05/27/2020)
               05/28/2020   26 SEALED DOCUMENT held in Chambers. (ab) (Entered: 05/28/2020)
               06/12/2020   27 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               June 12, 2020 re: Respectfully requesting modification of bond conditions . Document
                               filed by Mustapha Raji. (Schneider, Jeremy) (Entered: 06/12/2020)
               06/12/2020   28 ORDER with respect to 27 LETTER MOTION seeking modification of bail as to
                               Mustapha Raji (1). The Government shall file a response as soon as possible, but no
                               later than 3 p.m. today. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               6/12/2020) (Text Only Order) (Furman, Jesse) (Entered: 06/12/2020)
               06/12/2020   29 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                               RESPONSE to Motion by USA as to Mustapha Raji re: 27 LETTER MOTION
                               addressed to Judge Jesse M. Furman from Jeremy Schneider dated June 12, 2020 re:
                               Respectfully requesting modification of bond conditions .. (Choi, Eun Young)
                               Modified on 6/12/2020 (ka). (Entered: 06/12/2020)
               06/12/2020   30 ORDER denying without prejudice 27 LETTER MOTION seeking modification of
                               bail as to Mustapha Raji (1). The Court had mistakenly assumed from Defendant's
                               motion that the two proposed co−signers had been interviewed and approved by the
                               Government already. In light of the fact that they have not, the application is denied
                               without prejudice to renewal in the event that the Government approves them. SO
                               ORDERED. (Signed by Judge Jesse M. Furman on 6/12/2020) (Text Only Order)
                               (Furman, Jesse) (Entered: 06/12/2020)
               06/12/2020       NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                                ERROR as to Mustapha Raji: Notice to Attorney Choi, Eun Young to RE−FILE
                                Document 29 Response to Motion. Use the event type Letter found under the
                                event list Other documents. (ka) (Entered: 06/12/2020)
               06/15/2020   31 ORDER as to Mustapha Raji: In light of the circumstances surrounding COVID−19,
                               the Court is unable to hold the upcoming conference in this case in person. Counsel are
                               directed to confer and, within two business days of this Order, submit a joint letter
                               indicating their views on whether a conference is necessary or if it should be adjourned
                               (and, if so, for how long). (Signed by Judge Jesse M. Furman on 6/15/2020) (ab)
                               (Entered: 06/15/2020)
               06/16/2020   32 TRANSCRIPT of Proceedings as to Mustapha Raji re: Conference held on 5/26/2020
                               before Judge Jesse M. Furman. Court Reporter/Transcriber: Rose Prater, (212)
                               805−0300, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               7/7/2020. Redacted Transcript Deadline set for 7/17/2020. Release of Transcript
                               Restriction set for 9/14/2020. (McGuirk, Kelly) (Entered: 06/16/2020)
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               06/16/2020   33 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 5/26/2020
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 06/16/2020)
               06/17/2020   34 LETTER by Mustapha Raji addressed to Judge Jesse M. Furman from Jeremy
                               Schneider dated June 17, 2020 re: Response to Court's Order regarding June 29, 2020
                               status conference (Schneider, Jeremy) (Entered: 06/17/2020)
               06/18/2020   35 MEMO ENDORSEMENT as to Mustapha Raji on 34 Letter Response to Court's
                               Order : Application GRANTED. The motions schedule is hereby ADOPTED. The
                               pretrial conference is ADJOURNED to October 29, 2020 at 3:00 p.m. The
                               Government should submit a proposed order excluding time through that date. The
                               Clerk of Court is directed to terminate Doc. #34. (Signed by Judge Jesse M. Furman
                               on 6/17/2020) (ab) (Entered: 06/18/2020)
               07/27/2020   36 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               July 27, 2020 re: Respectfully requesting modification of the Court's May 27, 2020
                               Bail Order . Document filed by Mustapha Raji. (Schneider, Jeremy) (Entered:
                               07/27/2020)
               07/27/2020   37 MEMO ENDORSEMENT as to Mustapha Raji (1) on 36 LETTER MOTION
                               Respectfully requesting modification of the Court's May 27, 2020 Bail Order:
                               Application GRANTED. The Clerk of Court is directed to terminate Doc. #36. SO
                               ORDERED.. (Signed by Judge Jesse M. Furman on 7/27/2020) (ab) (Entered:
                               07/27/2020)
               09/14/2020   38 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               September 14, 2020 re: Temporary Bond Modification to Permit Travel for Medical
                               Appointment . Document filed by Mustapha Raji. (Schneider, Jeremy) (Entered:
                               09/14/2020)
               09/15/2020   39 MEMO ENDORSEMENT as to Mustapha Raji on 38 LETTER MOTION re
                               Temporary Bond Modification: Application GRANTED. The Clerk of Court is
                               directed to terminate Doc. #38. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               9/15/2020) (ab) (Entered: 09/15/2020)
               09/22/2020   40 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               September 22, 2020 re: Request for Bond Modification . Document filed by Mustapha
                               Raji. (Schneider, Jeremy) (Entered: 09/22/2020)
               09/22/2020   41 MEMO ENDORSEMENT as to Mustapha Raji (1) granting 40 LETTER MOTION
                               addressed to Judge Jesse M. Furman from Jeremy Schneider dated September 22, 2020
                               re: Request for Bond Modification. ENDORSEMENT: Application GRANTED. The
                               Clerk of Court is directed to terminate Doc. #40. (Signed by Judge Jesse M. Furman
                               on 9/22/2020) (ap) (Entered: 09/22/2020)
               09/25/2020   42 LETTER MOTION addressed to Judge Jesse M. Furman from Dina McLeod dated
                               September 25, 2020 re: Request for Exclusion of Time Under the Speedy Trial Act .
                               Document filed by USA as to Mustapha Raji. (McLeod, Dina) (Entered: 09/25/2020)
               09/25/2020   43 MEMO ENDORSEMENT as to Mustapha Raji on 42 LETTER MOTION re Request
                               for Exclusion of Time Under the Speedy Trial Act: Unless the Court is missing
                               something, there would be no basis at this time to move to dismiss on speedy trial
                               grounds, as there would remain 53 days on the speedy trial clock. In any event, the
                               application is GRANTED. For the reasons set forth in the Government's letter, time is
                               hereby excluded under the Speedy Trial Act between today, September 25, 2020, and
                               October 29, 2020. The Clerk of Court is directed to terminate ECF No. 42. SO
                               ORDERED. (Signed by Judge Jesse M. Furman on 9/25/2020) (ab) (Entered:
                               09/25/2020)
               10/01/2020   74 Appearance Bond Entered as to Mustapha Raji: $100,000 Personal Recognizance
                               Bond; To be cosigned by three financially responsible persons; Secured by $10,000 in
                               collateral; Additional conditions.... [**Advice of Penalties and Sanctions attached.]
                               (jbo) (Entered: 08/04/2021)
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               10/13/2020   44 ORDER as to Mustapha Raji. There is a proceeding in this matter scheduled for
                               October 29, 2020. Counsel are directed to confer and, within two business days of this
                               Order, submit a joint letter indicating their views on whether the proceeding should be
                               held or if it should be adjourned (and, if so, for how long). If either party believes that
                               the proceeding should be held, counsel should explain why and indicate their views on
                               (1) whether the proceeding should be held in person or remotely; and (2) whether, if
                               permitted Court under the Constitution, the Federal Rules, and the CARES Act, the
                               Defendant consents to a remote proceeding and/or to waiving his/her appearance
                               altogether. If the defendant is detained, counsel should identify the facility in which
                               the Defendant is held; if the Defendant is not detained, counsel should indicate
                               whether the Defendant would be capable of participating in a remote proceeding.
                               Counsel is advised that, for the foreseeable future, some facilities (including the
                               Metropolitan Correctional Center and the Metropolitan Detention Center) may require
                               that any inmate appearing in court be quarantined for 14 days upon returning from
                               their appearance...... After reviewing the parties' joint letter, the Court will issue an
                               order indicating whether the proceeding will be held and, if so, how; and addressing
                               any other relevant deadlines and information. If a proceeding is held, it may have to be
                               at a different time. To that end, counsel should indicate in their joint letter dates and
                               times during the week of the currently scheduled proceeding that they would be
                               available for a proceeding, whether in person or remote. In the event of a remote
                               proceeding, counsel should review and comply with the Courts Emergency Individual
                               Rules and Practices in Light of COVID−19, available at
                               https://nysd.uscourts.gov/hon−jesse−m−furman. SO ORDERED. (Signed by Judge
                               Jesse M. Furman on 10/13/2020)(bw) (Entered: 10/13/2020)
               10/14/2020   45 LETTER MOTION addressed to Judge Jesse M. Furman from Dina McLeod dated
                               October 14, 2020 re: Request for Adjournment of Conference . Document filed by
                               USA as to Mustapha Raji. (McLeod, Dina) (Entered: 10/14/2020)
               10/16/2020   46 MEMO ENDORSEMENT as to Mustapha Raji on 45 LETTER MOTION re Request
                               for Adjournment of Conference: The Court will hold a teleconference with the
                               attorneys on October 27, 2020, at 2:15 p.m. To access the conference, counsel should
                               call 888−363−4749 and use access code 5421540#. (Members of the press and public
                               may call the same number, but will not be permitted to speak during the conference.)
                               Counsel should be sure to consult the Court's Emergency Individual Rules and
                               Practices, available on the Court's website, and comply with the rules regarding
                               conferences. The Clerk of Court is directed to terminate Doc. #45. SO ORDERED.
                               (Signed by Judge Jesse M. Furman on 10/16/2020) (ab) (Entered: 10/16/2020)
               10/27/2020        Minute Entry for proceedings held before Judge Jesse M. Furman: Conference as to
                                 Mustapha Raji held via teleconference on 10/27/2020. Jeremy Schneider present for
                                 Defendant, whose presence is waived for the conference. AUSAs Dina McLeod and
                                 Eun Young Choi present. Court reporter present. −− Motions due by 1/15/2021.
                                 Opposition due by 1/29/2021. Replies due by 2/5/2021. The next Pretrial Conference
                                 is scheduled for 1/20/2021 at 3:30 PM. Time is excluded in the interests of justice
                                 from 10/27/2020 until 1/20/2021. −− Parties advised of Rule 5(f) Brady obligations.
                                 (ab) (Entered: 10/28/2020)
               10/29/2020   47 ORDER as to Mustapha Raji: This Order is entered, pursuant to Federal Rule of
                               Criminal Procedure 5(f) and the Due Process Protections Act, Pub. L. No 116−182,
                               134 Stat. 894 (Oct. 21, 2020), to confirm the Government's disclosure obligations
                               under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to summarize the
                               possible consequences of violating those obligations. (Signed by Judge Jesse M.
                               Furman on 10/29/2020) (ab) (Entered: 10/29/2020)
               11/02/2020   48 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               November 2, 2020 re: Request for Bond Modification Related to Medical Treatment .
                               Document filed by Mustapha Raji. (Attachments: # 1 Exhibit)(Schneider, Jeremy)
                               (Entered: 11/02/2020)
               11/02/2020   49 MEMO ENDORSEMENT as to Mustapha Raji (1) granting 48 LETTER MOTION
                               addressed to Judge Jesse M. Furman from Jeremy Schneider dated November 2, 2020
                               re: Request for Bond Modification Related to Medical Treatment. ENDORSEMENT:
                               Application GRANTED. The Clerk of Court is directed to terminate ECF No. 48. SO
                               ORDERED. (Signed by Judge Jesse M. Furman on 11/2/2020) (ap) (Entered:
                               11/02/2020)
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              01/04/2021   50 ORDER as to Mustapha Raji: There is a proceeding in this matter scheduled for
                              January 20, 2021. Counsel are directed to confer and, within two business days of this
                              Order, submit a joint letter indicating their views on whether the proceeding should be
                              held or if it should be adjourned (and, if so, for how long). (See ORDER.) (Signed by
                              Judge Jesse M. Furman on 1/4/2021) (ab) (Entered: 01/04/2021)
              01/05/2021   51 LETTER MOTION addressed to Judge Jesse M. Furman from Dina McLeod dated
                              January 5, 2021 re: Request for Conference to be Held As Scheduled . Document filed
                              by USA as to Mustapha Raji. (McLeod, Dina) (Entered: 01/05/2021)
              01/06/2021   52 MEMO ENDORSEMENT on 51 LETTER MOTION re Request for Conference to be
                              Held As Scheduled as to Mustapha Raji: The Court will hold a teleconference on
                              January 20, 2020, at 3:00 p.m., in which the defendant shall also participate. The
                              defendant and counsel should join the conference by calling the Court's dedicated
                              conference call line at (888) 363−4749, using access code 542−1540 followed by the
                              pound (#) key. Members of the public may access the conference using the same
                              call−in information, but will be placed in listen−only mode. Recording of the
                              conference is prohibited by law. The Clerk of Court is directed to terminate Doc. #51.
                              SO ORDERED. (Signed by Judge Jesse M. Furman on 1/5/2021) (ab) (Entered:
                              01/06/2021)
              01/15/2021   53 MOTION to Suppress . Document filed by Mustapha Raji. (Schneider, Jeremy)
                              (Entered: 01/15/2021)
              01/15/2021   54 MEMORANDUM in Support by Mustapha Raji re 53 MOTION to Suppress ..
                              (Attachments: # 1 Exhibit B)(Schneider, Jeremy) (Entered: 01/15/2021)
              01/20/2021   55 LETTER by Mustapha Raji addressed to Judge Jesse M. Furman from Jeremy
                              Schneider dated January 20, 2021 re: Exhibit A to Defendant's Motion to Suppress
                              (Attachments: # 1 Exhibit A to Defendant's Motion to Suppress)(Schneider, Jeremy)
                              (Entered: 01/20/2021)
              01/20/2021       Minute Entry for proceedings held before Judge Jesse M. Furman: Pretrial Conference
                               as to Mustapha Raji held via teleconference on 1/20/2021. Defendant present (out on
                               bail) with attorneys Jeremy Schneider and Rachel Parrillo. AUSA Eun Young Choi
                               present. Court reporter present. −− Defendant consents to proceed via teleconference.
                               The next Pretrial Conference is scheduled for 5/10/2021 at 10:00 am. Time is excluded
                               in the interests of justice from 1/20/2021 until 5/10/2021. (ab) (Entered: 02/02/2021)
              01/25/2021   56 LETTER by Mustapha Raji addressed to Judge Jesse M. Furman from Jeremy
                              Schneider dated January 25, 2021 re: Attaching signed and notarized copy of Exhibit
                              B to Motion to Suppress (Attachments: # 1 Exhibit B)(Schneider, Jeremy) (Entered:
                              01/25/2021)
              01/29/2021   57 SEALED DOCUMENT held in Chambers. (ab) (Entered: 01/29/2021)
              01/29/2021   58 MEMORANDUM in Opposition by USA as to Mustapha Raji re 53 MOTION to
                              Suppress .. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                              5 Exhibit E)(McLeod, Dina) (Entered: 01/29/2021)
              02/03/2021   59 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              February 3, 2021 re: Requesting a One Week Extension to File Reply . Document filed
                              by Mustapha Raji. (Schneider, Jeremy) (Entered: 02/03/2021)
              02/03/2021   60 MEMO ENDORSEMENT on 59 LETTER MOTION re Requesting a One Week
                              Extension to File Reply as to Mustapha Raji: Application GRANTED. The Clerk of
                              Court is directed to terminate Doc. #59. SO ORDERED. (Signed by Judge Jesse M.
                              Furman on 2/3/2021) (ab) (Entered: 02/03/2021)
              02/12/2021   61 REPLY MEMORANDUM OF LAW in Support as to Mustapha Raji re: 53 MOTION
                              to Suppress . . (Schneider, Jeremy) (Entered: 02/12/2021)
              03/19/2021   62 MOTION to Appoint Expert Dylan Schneider. Document filed by Mustapha Raji.
                              (Attachments: # 1 Exhibit)(Schneider, Jeremy) (Entered: 03/19/2021)
              03/22/2021   63 MEMO ENDORSEMENT on 62 Letter Motion to Appoint Expert as to Mustapha
                              Raji: The Court appreciates counsel's disclosure of the relationship and has no reason
                              to doubt counsel's (or his son's) good faith, but concludes that, at least in these
                              circumstances (namely, where the services do not require particular expertise and there
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                               is no strong argument for the appointment of the particular person) it is not appropriate
                               to use CJA funds to pay the relative of counsel applying for funds. Accordingly, the
                               request is denied without prejudice to a new application for someone other than
                               counsel's son. The Clerk of Court is directed to terminate ECF No. 62. (Signed by
                               Judge Jesse M. Furman on 3/22/2021) (ab) (Entered: 03/22/2021)
              04/15/2021   64 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              4/15/21 re: Bail Modification Jeremy Schneider. Document filed by Mustapha Raji.
                              (Schneider, Jeremy) (Entered: 04/15/2021)
              04/15/2021   65 MEMO ENDORSEMENT on 64 LETTER MOTION re Bail Modification as to
                              Mustapha Raji: Application GRANTED. The Clerk of Court is directed to terminate
                              Doc. #64. SO ORDERED. (Signed by Judge Jesse M. Furman on 4/15/2021) (ab)
                              (Entered: 04/15/2021)
              04/23/2021   66 ORDER as to Mustapha Raji: Having reviewed the parties' submissions regarding
                              Defendant's motion to suppress evidence from the two cell phones that were seized
                              from his home during his arrest, see ECF No. 53, the Court agrees with the parties that
                              an evidentiary hearing is unnecessary, see ECF No. 61, at 7 (conceding that "the need
                              for a hearing appears to be moot"). That said, the Court will hear oral argument on the
                              motion at the next pretrial conference on May 10, 2021. SO ORDERED. (Signed by
                              Judge Jesse M. Furman on 4/23/2021) (See ORDER as set forth) (lnl) (Entered:
                              04/23/2021)
              04/27/2021   67 ORDER as to Mustapha Raji: There is a proceeding in this matter scheduled for May
                              10, 2021, at 10:30 a.m. Unless and until the Court orders otherwise, the proceeding
                              will be held in person in Courtroom 1105 of the Thurgood Marshall United States
                              Courthouse, 40 Centre Street, New York, New York. If either counsel believe that the
                              proceeding should be held remotely (or that the Defendant should be permitted to
                              appear remotely or not appear at all), counsel should confer with the other side and, no
                              later than May 3, 2021, submit a letter motion to that effect. Additionally, counsel
                              should be prepared to set a trial date at the conference and, to that end, should confer
                              about it in advance (mindful that, COVID−19 issues aside, any trial date would be a
                              firm date). (Signed by Judge Jesse M. Furman on 4/27/2021)(ab) (Entered:
                              04/27/2021)
              04/29/2021   68 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              April 29, 2021 re: May 10th Conference . Document filed by Mustapha Raji.
                              (Schneider, Jeremy) (Entered: 04/29/2021)
              04/30/2021   69 AFFIDAVIT of Special Agent Michael Ryan in Opposition by USA as to Mustapha
                              Raji re: 53 MOTION to Suppress .. (Attachments: # 1 Exhibit A)(McLeod, Dina)
                              (Entered: 04/30/2021)
              04/30/2021   70 MEMO ENDORSEMENT on 68 LETTER MOTION re May 10th Conference as to
                              Mustapha Raji: The Defendant's physical presence is waived. The Defendant should
                              join the conference by calling the Court's dedicated conference call line at (888)
                              363−4749, using access code 542−1540 followed by the pound (#) key. Members of
                              the public and press may access the conference using the same call−in information, but
                              will be placed in listen−only mode. Counsel shall provide the Court's staff, via email,
                              with the telephone number from which the Defendant will be calling. SO ORDERED.
                              (Signed by Judge Jesse M. Furman on 4/30/2021) (ab) (Entered: 04/30/2021)
              05/10/2021   71 ORDER denying 53 Motion to Suppress as to Mustapha Raji (1). The motion was
                              denied for the reasons stated on the record at the conference held earlier today. See
                              Transcript for ruling. SO ORDERED. (Signed by Judge Jesse M. Furman on
                              5/10/2021) (Text Only Order) (Furman, Jesse) (Entered: 05/10/2021)
              05/10/2021       Minute Entry for proceedings held before Judge Jesse M. Furman: Oral Argument as
                               to Mustapha Raji held on 5/10/2021 re: 53 MOTION to Suppress. Defendant present
                               (via telephone) with attorney Jeremy Schneider. AUSA Dina McLeod present. Court
                               reporter present. −− Pursuant to Fed R. Crim. P. 5(f), the Court reminded the
                               Government of its obligations under Brady v. Maryland and its progeny. −− Motion to
                               Suppress is DENIED for the reasons stated on the record. −− Trial is scheduled for
                               4/26/2022 and is estimated to last 5−7 days. Time is excluded in the interests of justice
                               from 5/10/2021 until 4/26/2022. (ab) (Entered: 05/11/2021)
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              05/24/2021   72 TRANSCRIPT of Proceedings as to Mustapha Raji re: Conference held on 5/10/21
                              before Judge Jesse M. Furman. Court Reporter/Transcriber: Jennifer Thun, (212)
                              805−0300, Transcript may be viewed at the court public terminal or purchased through
                              the Court Reporter/Transcriber before the deadline for Release of Transcript
                              Restriction. After that date it may be obtained through PACER. Redaction Request due
                              6/14/2021. Redacted Transcript Deadline set for 6/24/2021. Release of Transcript
                              Restriction set for 8/23/2021. (McGuirk, Kelly) (Entered: 05/24/2021)
              05/24/2021   73 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                              hereby given that an official transcript of a Conference proceeding held on 5/10/21 has
                              been filed by the court reporter/transcriber in the above−captioned matter. The parties
                              have seven (7) calendar days to file with the court a Notice of Intent to Request
                              Redaction of this transcript. If no such Notice is filed, the transcript may be made
                              remotely electronically available to the public without redaction after 90 calendar
                              days.... (McGuirk, Kelly) (Entered: 05/24/2021)
              03/04/2022   75 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              March 4, 2022 re: Request to postpone trial date due to scheduling conflict . Document
                              filed by Mustapha Raji. (Schneider, Jeremy) (Entered: 03/04/2022)
              03/10/2022   76 MEMO ENDORSEMENT on 75 LETTER MOTION re Request to postpone trial date
                              due to scheduling conflict as to Mustapha Raji: Application GRANTED (without
                              happiness). Trial is ADJOURNED to September 12, 2022. Time is excluded under the
                              Speedy Trial Act between today and September 12, 2022, to ensure continuity of
                              counsel and allow the parties to prepare for trial. The Clerk of Court is directed to
                              terminate ECF No. 75. SO ORDERED. (Signed by Judge Jesse M. Furman on
                              3/10/2022) (ab) (Entered: 03/10/2022)
              03/25/2022   77 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              March 25, 2022 re: Request for permission to change residences . Document filed by
                              Mustapha Raji. (Schneider, Jeremy) (Entered: 03/25/2022)
              03/28/2022   78 MEMO ENDORSEMENT on 77 LETTER MOTION re Request for permission to
                              change residences as to Mustapha Raji: Application GRANTED. The Clerk of Court is
                              directed to terminate Doc. #77. SO ORDERED. (Signed by Judge Jesse M. Furman on
                              3/28/2022) (ab) (Entered: 03/28/2022)
              07/14/2022   79 SCHEDULING ORDER as to Mustapha Raji: Trial in this case is scheduled for
                              September 12, 2022 at 9:30 a.m. It is hereby ORDERED that any proposed voir dire,
                              proposed jury instructions, and proposed verdict forms, as well as any motions in
                              limine or trial memoranda, shall be filed by noon on September 1, 2022. Any
                              opposition to a motion in limine or trial memorandum shall be filed by 5 p.m. on
                              September 6, 2022. In accordance with the Court's Individual Rules and Practices for
                              Criminal Cases, available at http://nysd.uscourts.gov/judge/Furman, a party must
                              submit one courtesy hard copies of these documents to the Court at the time of filing.
                              In addition, the proposed voir dire, proposed jury instructions, and proposed verdict
                              forms must be e−mailed, in Microsoft Word format, to
                              Furman_NYSDChambers@nysd.uscourts.gov. It is further ORDERED that the parties
                              appear for a final pretrial conference on September 8, 2022, at 10:00 a.m. in
                              Courtroom 1105 of the Thurgood Marshall Courthouse, 40 Centre Street, New York,
                              New York 10007. The final pretrial conference must be attended by the attorney who
                              will serve as principal trial counsel. The parties must familiarize themselves with the
                              Court's Individual Rules and Practices for Trials, available at
                              http://nysd.uscourts.gov/judge/Furman. (Motions due by 9/1/2022. Responses due by
                              9/6/2022. Jury Trial set for 9/12/2022 at 09:30 AM before Judge Jesse M. Furman,
                              Pretrial Conference set for 9/8/2022 at 10:00 AM in Courtroom 1105, 40 Centre Street,
                              New York, NY 10007 before Judge Jesse M. Furman) (Signed by Judge Jesse M.
                              Furman on 7/14/2022) (ap) Modified on 7/14/2022 (ap). (Entered: 07/14/2022)
              07/22/2022   80 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              July 22, 2022 re: Request for Status Conference . Document filed by Mustapha Raji.
                              (Schneider, Jeremy) (Entered: 07/22/2022)
              07/22/2022   81 MEMO ENDORSEMENT as to Mustapha Raji (1) granting 80 LETTER MOTION
                              addressed to Judge Jesse M. Furman from Jeremy Schneider dated July 22, 2022 re:
                              Request for Status Conference. ENDORSEMENT: Application GRANTED. The
                              Court will hold a telephone conference on July 26, 2022, at 2:15 p.m.. The parties
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                               should join the conference by calling the Court's dedicated conference call line at
                               (888) 363−4749, using access code 542−1540 followed by the pound (#) key.
                               Members of the public and press may access the conference using the same call−in
                               information, but will be placed in listen−only mode. The Clerk of Court is directed to
                               terminate Doc. #80. (Signed by Judge Jesse M. Furman on 7/22/2022) (ap) (Entered:
                               07/22/2022)
              07/22/2022       Set/Reset Hearings as to Mustapha Raji: Telephone Conference set for 7/26/2022 at
                               02:15 PM before Judge Jesse M. Furman. (ap) (Entered: 07/22/2022)
              07/26/2022       Minute Entry for proceedings held before Judge Jesse M. Furman: Telephone
                               Conference as to Mustapha Raji held on 7/26/2022. Defendant present with attorney
                               Jeremy Schneider. AUSA present. Court reporter present. −− Defendant's request for
                               an adjournment is denied without prejudice to renewed application. (ab) (Entered:
                               09/15/2022)
              08/11/2022   82 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              August 11, 2022 re: Request to change time of final pretrial conference on September
                              8, 2022 . Document filed by Mustapha Raji. (Schneider, Jeremy) (Entered:
                              08/11/2022)
              08/12/2022   83 MEMO ENDORSEMENT granting 82 LETTER MOTION re: 82 LETTER MOTION
                              addressed to Judge Jesse M. Furman from Jeremy Schneider dated August 11, 2022 re:
                              Request to change time of final pretrial conference on September 8,
                              2022...ENDORSEMENT...Application GRANTED. The final pretrial conference is
                              hereby rescheduled to 11:00 a.m. on September 8, 2022. The Clerk of Court is directed
                              to terminate Doc. #82. SO ORDERED (Signed by Judge Jesse M. Furman on 8/12/22)
                              (jw) (Entered: 08/12/2022)
              08/12/2022       Set/Reset Deadlines/Hearings as to Mustapha Raji: Pretrial Conference set for
                               9/8/2022 at 11:00 AM before Judge Jesse M. Furman (jw) (Entered: 08/12/2022)
              08/16/2022   84 SEALED DOCUMENT held in Judge Furman's Chambers. (ab) (Entered: 08/16/2022)
              08/17/2022   85 JOINT LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman
                              dated August 17, 2022 re: Parties' Schedule for Pretrial Disclosures Document filed by
                              USA. (Sobelman, Robert) (Entered: 08/17/2022)
              08/17/2022   86 NOTICE OF ATTORNEY APPEARANCE Robert Benjamin Sobelman appearing for
                              USA. (Sobelman, Robert) (Entered: 08/17/2022)
              08/17/2022   87 ENDORSED LETTER as to Mustapha Raji addressed to Judge Jesse M. Furman from
                              Jilan Kamal and Robert B. Sobelman dated 8/17/22 re: The Government respectfully
                              submits this letter on behalf of the parties to advise the Court that they have conferred
                              and agreed to a schedule with respect to the exchange of certain material and
                              information prior to and during trial. See The Attached
                              Endorsement...ENDORSEMENT: SO ORDERED (Proposed Voir Dire set for
                              9/1/2022 at 12:00PM before Judge Jesse M. Furman.) (Signed by Judge Jesse M.
                              Furman on 8/17/22)(jw) (Entered: 08/18/2022)
              08/18/2022   88 NOTICE OF ATTORNEY APPEARANCE Jilan Janet Kamal appearing for USA.
                              (Kamal, Jilan) (Entered: 08/18/2022)
              08/18/2022   89 NOTICE OF ATTORNEY APPEARANCE Catherine Elaine Ghosh appearing for
                              USA. (Ghosh, Catherine) (Entered: 08/18/2022)
              08/29/2022   90 SEALED DOCUMENT held in Judge Furman's Chambers. (ab) (Entered: 08/29/2022)
              08/30/2022   91 SEALED DOCUMENT held in Judge Furman's Chambers. (ab) (Entered: 08/30/2022)
              08/31/2022   92 MOTION in Limine . Document filed by Mustapha Raji. (Schneider, Jeremy)
                              (Entered: 08/31/2022)
              08/31/2022   93 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                              August 31, 2022 re: Request to Adjourn Trial . Document filed by Mustapha Raji.
                              (Schneider, Jeremy) (Entered: 08/31/2022)
              09/01/2022   94 MOTION in Limine . Document filed by USA as to Mustapha Raji. (Sobelman,
                              Robert) (Entered: 09/01/2022)
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              09/01/2022    95 PROPOSED EXAMINATION OF JURORS by USA as to Mustapha Raji. (Sobelman,
                               Robert) (Entered: 09/01/2022)
              09/01/2022    96 Request To Charge by USA as to Mustapha Raji. (Sobelman, Robert) (Entered:
                               09/01/2022)
              09/01/2022    97 JOINT LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman
                               dated September 1, 2022 re: Proposed Verdict Form Document filed by USA.
                               (Attachments: # 1 Exhibit (Proposed Verdict Form))(Sobelman, Robert) (Entered:
                               09/01/2022)
              09/01/2022    98 ORDER with respect to 93 LETTER MOTION seeking an adjournment of trial as to
                               Mustapha Raji: The Government shall respond by September 2, 2022. SO ORDERED.
                               (Signed by Judge Jesse M. Furman on 9/1/2022) (Text Only Order) (Furman, Jesse)
                               (Entered: 09/01/2022)
              09/01/2022    99 LETTER RESPONSE in Opposition by USA as to Mustapha Raji addressed to Judge
                               Jesse M. Furman dated September 1, 2022 re: 93 LETTER MOTION addressed to
                               Judge Jesse M. Furman from Jeremy Schneider dated August 31, 2022 re: Request to
                               Adjourn Trial .. (Sobelman, Robert) (Entered: 09/01/2022)
              09/02/2022   100 MEMO ENDORSEMENT terminating 93 LETTER MOTION re: 93 LETTER
                               MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated August
                               31, 2022 re: Request to Adjourn Trial....ENDORSEMENT...The Court wholeheartedly
                               agrees with the Government. The fact that the medical letter submitted on behalf of the
                               Defendant comes from a self−described "walk−in clinic to treat a minor illness or
                               injury" casts additional doubt on the need for the adjournment. The parties should be
                               prepared to address at the final pretrial conference what accommodations, if any, the
                               Defendant should be given during trial. The Clerk of Court is directed to terminate
                               ECF No. 93. (Signed by Judge Jesse M. Furman on 9/2/22) (jw) (Entered: 09/02/2022)
              09/06/2022   101 MEMORANDUM in Opposition by USA as to Mustapha Raji re 92 MOTION in
                               Limine .. (Attachments: # 1 Exhibit 1)(Sobelman, Robert) (Entered: 09/06/2022)
              09/06/2022   102 RESPONSE to Motion by Mustapha Raji re: 94 MOTION in Limine .. (Schneider,
                               Jeremy) (Entered: 09/06/2022)
              09/06/2022   103 ORDER denying 94 Motion in Limine as to Mustapha Raji (1). The Government's
                               motion is denied as moot with respect to the first two categories of evidence or
                               argument based on Defendant's representation at ECF No. 102 that he does not intend
                               to present such evidence or argument. To the extent that the Government's motion with
                               respect to the third category is not also moot based on Defendant's representations, it is
                               denied without prejudice to renewal through objections at trial in the event that any
                               such evidence is offered. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               9/6/22) (Text Only Order) (Furman, Jesse) (Entered: 09/06/2022)
              09/08/2022   104 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider, Esq.
                               dated September 8, 2022 re: Requesting Approval of Electronics Order for Paralegal .
                               Document filed by Mustapha Raji. (Attachments: # 1 Text of Proposed Order
                               Electronics Order for Paralegal)(Schneider, Jeremy) (Entered: 09/08/2022)
              09/08/2022   105 ORDER terminating 104 LETTER MOTION Requesting Approval of Electronics
                               Order as to Mustapha Raji (1): The Court will provide the signed Order to counsel. SO
                               ORDERED. (Signed by Judge Jesse M. Furman on 9/8/22) (Text Only Order)
                               (Furman, Jesse) (Entered: 09/08/2022)
              09/08/2022   106 ORDER denying in part and deferring in part 92 Motion in Limine as to Mustapha
                               Raji (1): For the Court's rulings, see the transcript of today's Final Pretrial Conference.
                               SO ORDERED. (Signed by Judge Jesse M. Furman on 9/8/22) (Text Only Order)
                               (Furman, Jesse) (Entered: 09/08/2022)
              09/08/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Final Pretrial
                                 Conference as to Mustapha Raji held on 9/8/2022. Defendant present with attorney
                                 Jeremy Schneider. AUSAs Jilan Kamal, Robert Sobelman, and Catherine Ghosh
                                 present. Court reporter present. −− Trial to begin on Monday, September 12, 2022, at
                                 9:30 a.m.. See transcript. (ab) Modified on 9/14/2022 (ab). (Entered: 09/14/2022)
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              09/09/2022   107 LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman dated
                               September 9, 2022 re: Admissibility of Defendant's Communications with CW−1
                               Post−Dating the Charged Scheme Document filed by USA. (Attachments: # 1 Exhibit
                               GX 212, # 2 Exhibit GX 212A, # 3 Exhibit GX 313, # 4 Exhibit 313A−T, # 5 Exhibit
                               GX 313B, # 6 Exhibit GX 313C, # 7 Exhibit GX 314)(Sobelman, Robert) (Entered:
                               09/09/2022)
              09/10/2022   108 LETTER by Mustapha Raji addressed to Judge Jesse M. Furman from Jeremy
                               Schneider dated September 10, 2022 re: Proposed Request to Charge (Attachments: #
                               1 Exhibit A)(Schneider, Jeremy) (Entered: 09/10/2022)
              09/11/2022   109 LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman dated
                               September 11, 2022 re: Correction to Dkt. No. 107 Document filed by USA.
                               (Sobelman, Robert) (Entered: 09/11/2022)
              09/12/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Voir Dire held on
                                 9/12/2022 as to Mustapha Raji. Defendant present with attorney Jeremy Schneider.
                                 Paralegal Mayerlin Ulerio present. AUSAs Jilan Kamal, Robert Sobelman, and
                                 Catherine Ghosh present. Paralegal Matthew Bailey present. Court reporter present. −−
                                 See transcript. Trial continued to 9/13/2022 at 9:00 a.m. (ab) (Entered: 09/14/2022)
              09/13/2022   110 ORDER as to Mustapha Raji: Attached is a final version of the juror questionnaire that
                               the Court used during oral voir dire on September 12, 2022. SEE ORDER. (Signed by
                               Judge Jesse M. Furman on 9/13/2022) (ab) (Entered: 09/13/2022)
              09/13/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Jury Trial as to
                                 Mustapha Raji held on 9/13/2022. −− See transcript. Trial continued to 9/14/2022 at
                                 9:00 a.m. (ab) (Entered: 09/14/2022)
              09/14/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Jury Trial as to
                                 Mustapha Raji held on 9/14/2022. −− See transcript. Trial continued to 9/15/2022 at
                                 9:00 a.m. (ab) (Entered: 09/14/2022)
              09/15/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Jury Trial as to
                                 Mustapha Raji held on 9/15/2022. −− See transcript. Trial continued to 9/19/2022 at
                                 9:00 a.m. (ab) (Entered: 09/15/2022)
              09/16/2022   111 ORDER as to Mustapha Raji: Attached to this Order is the draft jury charge that was
                               considered at the charge conference held on the record on September 15, 2022. SEE
                               ORDER. (Signed by Judge Jesse M. Furman on 9/16/2022) (ab) (Entered:
                               09/16/2022)
              09/19/2022   112 ORDER as to Mustapha Raji. The jury reached a verdict in this case on September 19,
                               2022. Attached to this Order are the note sent by the jury to the Court during
                               deliberations (Court Exhibit 1), and the jury's verdict form (Court Exhibit 2), with the
                               jurors' names and signatures redacted. SO ORDERED. (Signed by Judge Jesse M.
                               Furman on 9/19/2022)(bw) (Entered: 09/19/2022)
              09/19/2022         Minute Entry for proceedings held before Judge Jesse M. Furman: Jury Trial as to
                                 Mustapha Raji held on 9/19/2022. −− The jury has reached a verdict, GUILTY on all
                                 counts. See transcript. (ab) (Entered: 09/20/2022)
              09/19/2022         JURY VERDICT as to Mustapha Raji (1) Guilty on Counts 1, 2, 3, and 4 of the
                                 Indictment. −− See Doc. # 112 for the Verdict form. (ab) (Entered: 09/20/2022)
              09/20/2022   113 TRANSCRIPT of Proceedings as to Mustapha Raji re: Conference held on 9/8/2022
                               before Judge Jesse M. Furman. Court Reporter/Transcriber: Paula Horovitz, (212)
                               805−0348, Transcript may be viewed at the court public terminal or purchased through
                               the Court Reporter/Transcriber before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Redaction Request due
                               10/11/2022. Redacted Transcript Deadline set for 10/21/2022. Release of Transcript
                               Restriction set for 12/19/2022. (Moya, Goretti) (Entered: 09/20/2022)
              09/20/2022   114 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Conference proceeding held on 9/8/2022
                               has been filed by the court reporter/transcriber in the above−captioned matter. The
                               parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
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                                 remotely electronically available to the public without redaction after 90 calendar
                                 days.... (Moya, Goretti) (Entered: 09/20/2022)
              10/07/2022   115 TRANSCRIPT of Proceedings as to Mustapha Raji re: Trial held on 9/13/2022 before
                               Judge Jesse M. Furman. Court Reporter/Transcriber: Paula Horovitz, (212) 805−0348,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 10/28/2022.
                               Redacted Transcript Deadline set for 11/7/2022. Release of Transcript Restriction set
                               for 1/5/2023. (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   116 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 9/13/2022 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   117 TRANSCRIPT of Proceedings as to Mustapha Raji re: Trial held on 9/14/2022 before
                               Judge Jesse M. Furman. Court Reporter/Transcriber: Paula Horovitz, (212) 805−0348,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 10/28/2022.
                               Redacted Transcript Deadline set for 11/7/2022. Release of Transcript Restriction set
                               for 1/5/2023. (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   118 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 9/14/2022 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   119 TRANSCRIPT of Proceedings as to Mustapha Raji re: Trial held on 9/15/2022 before
                               Judge Jesse M. Furman. Court Reporter/Transcriber: Paula Horovitz, (212) 805−0348,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 10/28/2022.
                               Redacted Transcript Deadline set for 11/7/2022. Release of Transcript Restriction set
                               for 1/5/2023. (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   120 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 9/15/2022 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   121 TRANSCRIPT of Proceedings as to Mustapha Raji re: Trial held on 9/19/2022 before
                               Judge Jesse M. Furman. Court Reporter/Transcriber: Paula Horovitz, (212) 805−0348,
                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                               that date it may be obtained through PACER. Redaction Request due 10/28/2022.
                               Redacted Transcript Deadline set for 11/7/2022. Release of Transcript Restriction set
                               for 1/5/2023. (McGuirk, Kelly) (Entered: 10/07/2022)
              10/07/2022   122 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Mustapha Raji. Notice is
                               hereby given that an official transcript of a Trial proceeding held on 9/19/2022 has
                               been filed by the court reporter/transcriber in the above−captioned matter. The parties
                               have seven (7) calendar days to file with the court a Notice of Intent to Request
                               Redaction of this transcript. If no such Notice is filed, the transcript may be made
                               remotely electronically available to the public without redaction after 90 calendar
                               days.... (McGuirk, Kelly) (Entered: 10/07/2022)
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              12/08/2022   123 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               December 8, 2022 re: Request to adjourn sentencing . Document filed by Mustapha
                               Raji. (Schneider, Jeremy) (Entered: 12/08/2022)
              12/08/2022   124 MEMO ENDORSEMENT as to Mustapha Raji on 123 LETTER MOTION request to
                               adjourn sentencing: Application GRANTED. Sentencing is hereby ADJOURNED to
                               February 28, 2023, at 2:30 p.m.. The Clerk of Court is directed to terminate Doc. #123.
                               SO ORDERED. (Signed by Judge Jesse M. Furman on 12/8/2022) (ab) (Entered:
                               12/08/2022)
              01/27/2023   125 LETTER MOTION addressed to Judge Jesse M. Furman from Dina McLeod dated
                               January 27, 2023 re: Related Case Letter and Request for Sentencing Date . Document
                               filed by USA as to Mustapha Raji. (McLeod, Dina) (Entered: 01/27/2023)
              01/31/2023   126 MEMO ENDORSEMENT as to Mustapha Raji on 125 LETTER MOTION addressed
                               to Judge Jesse M. Furman from Dina McLeod dated January 27, 2023 re: Related Case
                               Letter and Request for Sentencing Date. ENDORSEMENT: The Adeusi case has been
                               transferred to the undersigned. A separate order will be entered with respect to his
                               sentencing. The Clerk of Court is directed to terminate Doc. #11 in 19−CR−599 and
                               Doc. #125 in 19−CR−870. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               1/31/2023) (lnl) (Entered: 01/31/2023)
              02/08/2023   127 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               February 8, 2023 re: Request to Adjourn Sentencing . Document filed by Mustapha
                               Raji. (Schneider, Jeremy) (Entered: 02/08/2023)
              02/09/2023   128 MEMO ENDORSMENT granting 127 LETTER MOTION re: 127 LETTER
                               MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated February
                               8, 2023 re: Request to Adjourn Sentencing as to Mustapha
                               Raji....ENDORSEMENT...The Court is unavailable on April 12, 2023, but sentencing
                               is ADJOURNED to April 18, 2023, at 2:00pm. The Clerk of Court is directed to
                               terminate Docket No. 127 (Signed by Judge Jesse M. Furman on 2/9/2023) (jw)
                               (Entered: 02/09/2023)
              02/09/2023        Set/Reset Deadlines/Hearings as to Mustapha Raji: Sentencing set for 4/18/2023 at
                                02:00 PM before Judge Jesse M. Furman (jw) (Entered: 02/09/2023)
              03/24/2023   130 SEALED DOCUMENT held in Judge Furman's Chambers. (ab) (Entered: 03/24/2023)
              03/30/2023   131 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               March 30, 2023 re: Request for extension to submit PSR objections and to adjourn
                               sentencing . Document filed by Mustapha Raji. (Schneider, Jeremy) (Entered:
                               03/30/2023)
              03/31/2023   132 MEMO ENDORSEMENT as to Mustapha Raji on 131 LETTER MOTION re Request
                               for extension to submit PSR objections and to adjourn sentencing: Application
                               GRANTED. Sentencing is hereby ADJOURNED to May 16, 2023, at 3:15 p.m. The
                               Clerk of Court is directed to terminate Doc. #131. SO ORDERED. (Signed by Judge
                               Jesse M. Furman on 3/30/2023) (ab) (Entered: 03/31/2023)
              05/02/2023   134 SENTENCING SUBMISSION by Mustapha Raji. (Attachments: # 1 Exhibit A, # 2
                               Exhibit E)(Schneider, Jeremy) (Entered: 05/02/2023)
              05/09/2023   135 SENTENCING SUBMISSION by USA as to Mustapha Raji. (Sobelman, Robert)
                               (Entered: 05/09/2023)
              05/11/2023   136 REVISED SCHEDULING ORDER as to Mustapha Raji: IT IS HEREBY ORDERED
                               that the time for sentencing in this matter, scheduled for May 16, 2023, is changed
                               from 3:15 p.m. to 2:45 p.m. in Courtroom 1105 of the Thurgood Marshall Courthouse,
                               40 Centre Street, New York, New York. SO ORDERED. (Sentencing set for
                               5/16/2023 at 02:45 PM in Courtroom 1105, 40 Centre Street, New York, NY 10007
                               before Judge Jesse M. Furman) (Signed by Judge Jesse M. Furman on 5/11/2023) (lnl)
                               (Entered: 05/11/2023)
              05/11/2023   137 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               May 11, 2023 re: Request to Adjourn Sentencing . Document filed by Mustapha Raji.
                               (Schneider, Jeremy) (Entered: 05/11/2023)
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              05/12/2023   138 MEMO ENDORSEMENT as to Mustapha Raji on 137 LETTER MOTION
                               Requesting to Adjourn Sentencing: Application GRANTED. Sentencing is hereby
                               ADJOURNED to June 15, 2023, at 2:30 p.m.. The Clerk of Court is directed to
                               terminate Doc. #137. SO ORDERED. (Signed by Judge Jesse M. Furman on
                               5/12/2023) (ab) (Entered: 05/12/2023)
              05/15/2023   139 SENTENCING SUBMISSION by USA as to Mustapha Raji. (Ghosh, Catherine)
                               (Entered: 05/15/2023)
              06/07/2023   140 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               June 7, 2023 re: Request to Adjourn Sentencing . Document filed by Mustapha Raji.
                               (Schneider, Jeremy) (Entered: 06/07/2023)
              06/08/2023   141 MEMO ENDORSEMENT as to Mustapha Raji (1) granting 140 LETTER MOTION
                               addressed to Judge Jesse M. Furman from Jeremy Schneider dated June 7, 2023 re:
                               Request to Adjourn Sentencing. ENDORSEMENT: Application GRANTED.
                               Sentencing is ADJOURNED to July 20, 2023, at 2:15 p.m. The Clerk of Court is
                               directed to terminate Docket No. 140. (Signed by Judge Jesse M. Furman on 6/8/2023)
                               (ap) (Entered: 06/08/2023)
              06/08/2023        Set/Reset Hearings as to Mustapha Raji: Sentencing set for 7/20/2023 at 02:15 PM
                                before Judge Jesse M. Furman. (ap) (Entered: 06/08/2023)
              06/13/2023   142 LETTER by USA as to Mustapha Raji addressed to Judge Jesse M. Furman dated June
                               13, 2023 re: Jury Instruction Document filed by USA. (Sobelman, Robert) (Entered:
                               06/13/2023)
              07/17/2023   143 LETTER MOTION addressed to Judge Jesse M. Furman from Jeremy Schneider dated
                               July 17, 2023 re: Request to Adjourn Sentencing . Document filed by Mustapha Raji.
                               (Schneider, Jeremy) (Entered: 07/17/2023)
              07/17/2023   144 MEMO ENDORSEMENT as to Mustapha Raji on 143 LETTER MOTION
                               Requesting an Adjournment of Sentencing: Application GRANTED. Sentencing is
                               hereby ADJOURNED to September 19, 2023, at 3:00 p.m. Given the number of
                               adjournments granted to date, NO FURTHER ADJOURNMENTS will be granted.
                               The Clerk of Court is directed to terminate Doc. #143. SO ORDERED. (Signed by
                               Judge Jesse M. Furman on 7/17/2023) (ab) (Entered: 07/17/2023)
              09/13/2023   145 SENTENCING SUBMISSION by Mustapha Raji. (Schneider, Jeremy) (Entered:
                               09/13/2023)
              09/14/2023        NOTICE as to Mustapha Raji: The time for sentencing in this matter, scheduled for
                                September 19, 2023, is changed from 3:00 p.m. to 2:30 p.m. in Courtroom 1105 of the
                                Thurgood Marshall Courthouse, 40 Centre Street, New York, New York. (Alexandra
                                Smallman, Courtroom Deputy to the Hon. Jesse M. Furman) (Entered: 09/14/2023)
              09/15/2023   146 SENTENCING SUBMISSION by USA as to Mustapha Raji. (Ghosh, Catherine)
                               (Entered: 09/15/2023)
              09/19/2023        Minute Entry for proceedings held before Judge Jesse M. Furman: Sentencing held on
                                9/19/2023 for Mustapha Raji (1) Counts 1−4. Defendant present with attorney Jeremy
                                Schneider. AUSAs Jilan Kamal, Robert Sobelman, and Catherine Ghosh present. FBI
                                Special Agent Michael Ryan present. Court reporter present. −− See Judgment. (ab)
                                (Entered: 09/19/2023)
              09/19/2023   147 CONSENT ORDER OF RESTIUTION as to Mustapha Raji: The defendant shall pay
                               restitution in the total amount of $711,557.54, pursuant to 18 U.S.C. §§ 3663, 3663A,
                               and 3664, to the victim of the offense charged in Counts One through Four. The name,
                               address, and specific amount owed to the victim are set forth in the Schedule of
                               Victims, attached hereto as Schedule A. Upon advice by the United States Attorney's
                               Office of a change of address of a victim, the Clerk of Court is authorized to send
                               payments to the new address without further order of this Court. SEE ORDER.
                               (Signed by Judge Jesse M. Furman on 9/19/2023) (ab) (Entered: 09/19/2023)
              09/19/2023   148 SEALED DOCUMENT held in Judge Furman's Chambers. (ab) (Entered: 09/19/2023)
              09/19/2023   149 CONSENT PRELIMINARY ORDER OF FORFEITURE/MONEY JUDGMENT as to
                               Mustapha Raji: As a result of the offenses charged in Counts One through Four of the
                               Indictment, to which the Defendant was found guilty following a jury trial, a money
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                                judgment in the amount of $711,557.54 in United States currency, representing the
                                amount of proceeds traceable to the offenses charged in Counts One through Three of
                                the Indictment that the Defendant personally obtained, and the property involved to the
                                offense in Count Four of the Indictment, for which the Defendant is jointly and
                                severally liable with the Coconspirator charged in Indictment 18 Cr. 853 (NRB), to the
                                extent a forfeiture money judgment was entered against the Co−conspirator in that
                                case, shall be entered against the Defendant. SEE ORDER. (Signed by Judge Jesse M.
                                Furman on 9/19/2023) (ab) (Entered: 09/19/2023)
              09/20/2023   150 JUDGMENT IN A CRIMINAL CASE as to Mustapha Raji (1). Date of Imposition of
                               Judgment: 9/19/2023. The defendant was found guilty on Counts 1−4 of the
                               Indictment after a plea of not guilty. Imprisonment: 36 months on each count to be
                               served concurrently; Supervised Release: 3 years. −− SEE JUDGMENT. (Signed by
                               Judge Jesse M. Furman on 9/19/2023) (ab) (Entered: 09/20/2023)
              09/28/2023   151 NOTICE OF APPEAL by Mustapha Raji from 150 Judgment. (nd) (Entered:
                               09/28/2023)
              09/28/2023        Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Mustapha
                                Raji to US Court of Appeals re: 151 Notice of Appeal.(nd) (Entered: 09/28/2023)
              09/28/2023        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                                Electronic Files as to Mustapha Raji re: 151 Notice of Appeal were transmitted to the
                                U.S. Court of Appeals. (nd) (Entered: 09/28/2023)
              09/28/2023   152 TRANSCRIPT REQUEST FORM B filed by Mustapha Raji for a Sentence
                               proceeding held on 9/19/2023 before Judge Jesse M. Furman Transcript due by
                               10/10/2023. (nd) (Entered: 09/28/2023)
